






NO. 07-01-0510-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL C


										

AUGUST 7, 2003



______________________________




ALBERTO ALVAREZ, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE




_________________________________



FROM THE 100TH DISTRICT COURT OF HALL COUNTY;



NO. 3118; HONORABLE DAVID MCCOY, JUDGE


												

_______________________________



Before JOHNSON, C.J., and QUINN, and REAVIS, JJ.

MEMORANDUM OPINION


	Appellant Alberto Alvarez appeals from his conviction for possession of marijuana,
and incarceration for five years.  By three issues he asserts that the trial court erred in
failing to suppress evidence discovered by police following the warrantless search of
appellant's vehicle and appellant's warrantless arrest.  We affirm.


BACKGROUND

	On March 26, 2000, Officers Daniel Hawthorne and Coby Lomax were conducting
surveillance on a house located in or about Turkey, Texas.  Officers Hawthorne and Lomax
had received from a detective in Kansas a description of a house southwest of Turkey that
was believed to be involved in marijuana smuggling, and the officers had set up
surveillance on this house because it matched the house described to them by the Kansas
detective.  While observing the house, the officers noticed a vehicle parked at the house. 
Later, the officers observed a vehicle approaching a stop sign at an intersection near the
house.  Although the officers did not realize it until later, this vehicle was the same vehicle
which they had observed parked in the vicinity of the house.  The officers stopped the
vehicle for allegedly running the stop sign. (1) After appellant exited the vehicle, Officer
Hawthorne patted him down for weapons.  Hawthorne found no weapons, but did find a
bundle of bills that amounted to approximately $2,500.00. 

	What occurred next is disputed.  According to Officer Hawthorne, he asked for
consent to search appellant's vehicle and appellant consented freely and voluntarily. 
According to appellant, Hawthorne proceeded to search the vehicle without asking for
consent.  Appellant did not execute a written consent to search the vehicle, and although
the interaction between Hawthorne and appellant was recorded on the video recorder in
the officers' vehicle, the microphone was not activated until after the officers began
searching appellant's vehicle. (2)  The officers did not have either a search warrant or an
arrest warrant.  During the search of the vehicle, the officers located approximately 153
pounds of marijuana in the vehicle's trunk.  

	Appellant was arrested and charged with possession of marijuana.  Appellant filed
a motion to suppress the evidence obtained via the search of the station wagon.  A pre-trial
hearing was held on the motion.  The trial court denied the motion to suppress.  No explicit
findings of fact were filed or otherwise made on the record.  At trial, appellant and the State
re-litigated the issue of consent to the jury. (3)  The jury found appellant guilty and sentenced
him to five years incarceration in TDCJ-ID and fined him $5000.00.

	Appellant presents three issues on appeal.  The issues urge that the officers illegally
detained him and that the warrantless search of his vehicle and the resultant seizure and
admission of evidence from the vehicle search violated his rights under the Fourth
Amendment to the United States Constitution and Article I, Section 9 of the Texas
Constitution. 

STANDARD OF REVIEW

	We review a decision on a motion to suppress evidence using a bifurcated standard,
giving almost total deference to the trial court's findings of fact, but conducting a de novo
review of the court's application of law to those facts.  Maxwell v. State, 73 S.W.3d 278,
281 (Tex.Crim.App. 2002); State v. Ross, 32 S.W.3d 853, 856 (Tex.Crim.App. 2000). 
Absent findings of fact on the record, we examine the record in the light most favorable to
the trial court's ruling.  Maxwell, 73 S.W.3d at 281; State v. Ballard, 987 S.W.2d 889, 891
(Tex.Crim.App. 1999).  We infer all findings necessary to support the trial court's ruling,
and must sustain the trial court's ruling if the record reasonably supports the ruling and the
ruling is correct on any theory of law applicable to the case.  Ross, 32 S.W.3d at 855-56.ISSUES ONE AND TWO:

SCOPE OF SEARCH AND CAUSE FOR DETENTION


	In appellant's first and second issues, appellant alleges that his detention was
invalid because it exceeded the scope of a Terry (4) stop and because the officers lacked
reasonable suspicion or probable cause to detain him.  Appellant has failed to preserve
these issues for appellate review.

	A motion to suppress evidence is a specialized objection regarding the admissibility
of evidence.  Bradley v. State, 960 S.W.2d 791, 800 (Tex.App.-El Paso 1997, pet. ref'd). 
It must adhere to the requirements of an objection.  Id.  Generally, when a pre-trial motion
to suppress evidence is overruled, the accused need not subsequently object to the
admission of the same evidence at trial in order to preserve error.  See Livingston v. State,
739 S.W.2d 311, 334 (Tex.Crim.App. 1987).  However, in order to preserve error, the
objection made in a motion to suppress must correspond with the argument being made
on appeal.  See, e.g., Thomas v. State, 723 S.W.2d 696, 700 (Tex.Crim.App. 1986); Davis
v. State, 22 S.W.3d 8, 11 (Tex.App.-Houston [14th Dist.] 2000, no pet.); Bradley, 960
S.W.2d at 800; Cox v. State, 931 S.W.2d 349, 358 (Tex.App.-Fort Worth 1996), pet.
dism'd, 951 S.W.2d 5 (Tex.Crim.App. 1997); State v. Brady, 763 S.W.2d 38, 43
(Tex.App.-Corpus Christi 1988, no pet.).  Also, when evidence which has been the subject
of a previously overruled motion to suppress is offered at trial and the defendant
affirmatively states "no objection," the error preserved by presentation of and overruling of
the motion to suppress is waived.  See Jones v. State, 833 S.W.2d 118, 126
(Tex.Crim.App. 1992).

	Appellant's motion to suppress complained generally about the alleged "unlawful
arrest, search and seizure."  Appellant's only specific objection was that the officers
searched appellant's "person and vehicle without informed consent being given by
[appellant], all in violation of the Fourth Amendment of the United States Constitution and
provisions of the Texas Constitution." The motion to suppress did not allege that
appellant's detention was invalid because it exceeded the scope of a Terry stop or because
the officers lacked reasonable suspicion or probable cause to detain him. (5)  At trial, when
the evidence was offered by the State for admission into evidence, appellant's trial counsel
stated that he had "No objection, except for the motions that we have had prior."  After the
State rested its case, appellant orally renewed his motion to suppress and also made an
oral motion to acquit on the grounds that the stop of appellant's vehicle was a pretext stop
and that appellant did not voluntarily consent to the search of his vehicle.  

	A fair reading of appellant's motion to suppress shows that the only specific
objection raised by appellant was that appellant did not consent or did not voluntarily
consent to the search of his vehicle, and that the search therefore violated his rights under
the Fourth Amendment to the U.S. Constitution.  Appellant's general reference to
unspecified provisions of the Texas Constitution was too general to constitute an objection
and preserve error for appellate review.  Tex. R. App.  P. 33.1(a)(1).   Moreover, appellant
waived any other non-fundamental errors when appellant's counsel stated that he had "no
objection" to the admission of the evidence seized as a result of the search, except for the
objection raised in the motion to suppress.  Jones, 833 S.W.2d at 126. Appellant's oral
motion to acquit was insufficient to preserve additional grounds for review because to the
extent it may have constituted an objection to the admission of illegally seized evidence,
it was untimely made.  See  Dixon v. State, 2 S.W.3d 263, 265 (Tex.Crim.App. 1998); Tex.
R. App.  P. 33.1(a)(1).  Therefore, the only issue that has been preserved for appellate
review is whether appellant consented or voluntarily consented to the search of his vehicle. 
Bradley, 960 S.W.2d at 800.  Appellant's first and second issues are overruled.



ISSUE THREE: CONSENT TO SEARCH

	By his third issue, appellant alleges that the search of his vehicle was unlawful
because appellant did not effectively consent to the search.  Appellant alleges that the
State failed to prove by clear and convincing evidence that he gave the officers consent
to search.  In the alternative, appellant argues that if appellant gave consent, that it was
given under duress and coercion and as a mere acquiescence to a show of lawful
authority.  The State responds that the evidence was sufficient to prove that appellant
voluntarily consented to the search of the vehicle.

	Under the Fourth and Fourteenth Amendments, a search conducted without a
warrant issued upon probable cause is "per se unreasonable . . . subject only to a few
specifically established and well-delineated exceptions."  Schneckloth v. Bustamonte, 412
U.S. 218, 219, 93 S.Ct. 2041, 36 L.Ed.2d 854 (1973) (quoting Katz v. United States, 389
U.S. 347, 357, 88 S.Ct. 507, 19 L.Ed.2d 576 (1967)).  One such established exception is
a search conducted with the consent of the suspect.  Schneckloth, 412 U.S. at 219.  For
consent to be a valid exception, however, that consent must be voluntary.  See id. at 223. 
The federal constitution requires the State to prove the validity of the consent by a
preponderance of the evidence. (6)  Guevara v. State, 97 S.W.3d 579, 582 (Tex.Crim.App.
2003); Maxwell, 73 S.W.3d at 281.  At a suppression hearing, the trial judge is the sole and
exclusive trier of fact and judge of the credibility of the witnesses and their testimony.  Id.

	The validity of a consent to search is a question of fact to be determined from the
totality of all the circumstances.  Ohio v. Robinette, 519 U.S.33, 40, 117 S.Ct. 417, 136
L.Ed.2d 347 (1996); Guevara, 97 S.W.3d at 582.  Courts have identified a number of
factors which may be considered in determining whether a person voluntarily consented
to a search, including, but not limited to:  (1) whether the police displayed weapons or used
physical force or other intimidating tactics,  United States v. Wyatt, 179 F.3d 532, 535 (7th
Cir. 1999);  Frierson v. State, 839 S.W.2d 841, 851 (Tex.App.--Dallas 1992, pet. ref'd);  (2)
whether the police engaged in misconduct, United States v. Cherry, 759 F.2d 1196, 1211
(5th Cir. 1985);  De Jesus v. State, 917 S.W.2d 458, 462 (Tex.App.--Houston [14 Dist.]
1996, pet. ref'd);  (3) whether the police asserted a right to search, Bumper v. North
Carolina, 391 U.S. 543, 548, 88 S.Ct. 1788, 20 L.Ed.2d 797 (1968);  Dawson v. State, 868
S.W.2d 363, 368 (Tex.App.--Dallas 1993, pet. ref'd);  (4) the degree to which the detainee
cooperated with the search, United States v. Cooper, 43 F.3d 140, 147 (5th Cir. 1995); 
Frierson, 839 S.W.2d at 851;  (5) the detainee's age, intelligence, education, and physical
condition, Schneckloth, 412 U.S. at 226;  Dawson, 868 S.W.2d at 368;  (6) the detainee's
attitude about the likelihood of discovering contraband, United States v. Gonzales, 79 F.3d
413, 421 (5th Cir. 1996);  and (7) whether the detainee was aware of the right to refuse
consent, Schneckloth, 412 U.S. at 226-27;  Allridge v. State, 850 S.W.2d 471, 493
(Tex.Crim.App. 1991).  No single factor is dispositive.   United States v. Morales, 171 F.3d
978, 983 (5th Cir. 1999);  Arcila v. State, 788 S.W.2d 587, 591 (Tex.App.--Dallas 1990),
aff'd, 834 S.W.2d 357 (Tex.Crim.App.1992), overruled on other grounds by Guzman v.
State, 955 S.W.2d 85 (Tex.Crim.App. 1997). 

	As no findings of fact were made on the record, we infer a finding that appellant
consented to the search of his vehicle, and review the record in the light most favorable to
the trial court's ruling.  Maxwell, 73 S.W.3d at 281; Ross, 32 S.W.3d at 855-56.  As the trial
court was in the best position to judge the credibility of the witnesses and their testimony,
we defer to the trial court's finding. Viewed in such a light, the evidence that appellant
consented, although controverted by appellant, is sufficient to support the trial court's
implied finding of consent.  See, e.g., Martinez v. State, 17 S.W.3d 677, 683
(Tex.Crim.App. 2000). 

	Next, we consider whether appellant's consent was voluntary.  Reviewing the totality
of the circumstances, we find that the State proved by a preponderance of the evidence
that appellant effectively consented to the search.

	The record of the suppression hearing shows that at the time of the hearing,
appellant was 26 years old and had resided in Kansas for approximately ten years.  From
the hearing and the videotape, it is apparent that appellant is sufficiently fluent in the
English language to carry on basic conversations in English, albeit with some difficulty. 
The record does not reveal any other details concerning appellant's intelligence or
education.

	The record shows that the officers approached appellant's vehicle with guns drawn
but not pointed at appellant.  The guns were re-holstered after appellant was removed from
the vehicle.  Officer Hawthorne testified that appellant consented freely and voluntarily. 
There is no evidence that either of the officers asserted a right to search or engaged in any
kind of coercion.  Appellant was not handcuffed or held at gunpoint while the search
proceeded, although he was apparently placed in the back seat of the officers' vehicle at
some point after the officers began the search.  There is no evidence that appellant was
aware of his right to refuse the search.  At one point during the search, appellant
cooperated with the officers by attempting to open the vehicle's trunk.  Appellant testified
that he knew there was marijuana in the trunk. 

	On balance, we find that the totality of the circumstances supports a finding that
appellant's consent was voluntary.  We overrule appellant's third issue.

CONCLUSION

	Having overruled each of appellant's issues, we affirm the judgment of the trial
court.  

								Phil Johnson

								Chief Justice




Do not publish.     
1. Appellant denied running the stop sign at the hearing on the motion to suppress.
2. The tape was presented to the judge at the suppression hearing and admitted into
evidence before the jury.  We have reviewed the videotape as part of the appellate record.
3. The jury was also instructed on the issue of whether the stop of appellant's vehicle
was a pretext stop.  Appellant does not urge any error in the jury's apparent resolution of
these issues against him, and we express no opinion on the jury's verdict.
4. Terry v. Ohio, 392 U.S. 1, 88 S.Ct. 1868, 20 L.Ed.2d 889 (1968).
5. At the hearing on the motion to suppress, a colloquy occurred between the trial
judge, defense counsel and the prosecuting attorney.  During the colloquy, the prosecutor
stated that "the motion is that there was no informed consent, I believe is the basis of [the]
motion."  Appellant did not object to the prosecutor's characterization of the basis of
appellant's motion.  Moreover, although several subjects were discussed informally during
the hearing including the concepts of pretext stops and the reasonableness of detention,
appellant did not specifically or timely object on these grounds or obtain a ruling on
grounds not presented in the motion to suppress.   
6. In appellant's motion to suppress, appellant made only a general reference to the
Texas Constitution.  Appellant did not invoke any specific provisions or protections of the
Texas Constitution as they differ from the provisions and protections of the Fourth
Amendment of the U.S. Constitution.  Such a general reference to the Texas Constitution
is insufficient to preserve error.  Dewberry v. State, 4 S.W.3d 735, 748 (Tex.Crim.App.
1999); Tex. R. App.  P. 33.1(a)(1).  Thus, we will review the record using the federal
standard to determine whether the State's evidence proved the voluntariness of appellant's
consent by a preponderance of the evidence.


